Case 19-12200-JDW        Doc 28    Filed 08/29/19 Entered 08/29/19 13:07:22            Desc Main
                                   Document     Page 1 of 3


                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                               CHAPTER 13 CASE NO.:

STANLEY McAULEY AND
DELORIS JONES                                                                    19-12200-JDW

             OBJECTION TO CONFIRMATION OF FIRST AMENDED PLAN

        COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation of First

Amended Plan (the “Objection”), and in support thereof states as follows:

        1.     The Debtors commenced this proceeding by filing a Voluntary Petition on May 28,

2019 (the “Petition Date”). The Debtors filed a proposed First Amended Chapter 13 Plan (Dkt.

#22) (the “Plan”) on August 27, 2019.

        2.     The Debtors are above median income and the proposed term of the Plan is sixty

(60) months. The Plan provides for a pro rata distribution of $58,148.00 to nonpriority unsecured

creditors.

        3.     The Debtors’ Amended Schedules fail to disclose all assets and liabilities as

required by 11 U.S.C. § 521(a)(1)(B)(i); therefore, the requirement of §1325(a)(1) is not met.

Specifically, the Debtors failed to disclose their interest in a 1994 Ford F15, a 2000 Volkswagen,

and a 1992 GMC Sierra.

        4.     The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and 1325(a)(3). The Plan

has not been proposed in good faith because the Debtors have failed to provide for the treatment

of the secured claims of Republic Finance (Claim #15-1) and Fidelity National Loans (Claim #10-




                                                1
Case 19-12200-JDW        Doc 28      Filed 08/29/19 Entered 08/29/19 13:07:22           Desc Main
                                     Document     Page 2 of 3


1). The form plan approved by this Court provides that, “[t]he treatment of ALL secured and

priority debts must be provided for in this plan.”

       5.      The Plan fails to comply with 11 U.S.C. §§ 1325(a)(9) and 1308. The Debtors have

failed to file their Federal tax return(s) for 2016 according to the Proof of Claim filed by the

Internal Revenue Service (Claim #5-3).

       6.      The Debtors should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       7.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: August 29, 2019.

                                       Respectfully submitted,

                                       LOCKE D. BARKLEY
                                       CHAPTER 13 TRUSTEE

                               BY:     /s/ Melanie T. Vardaman
                                       ATTORNEYS FOR TRUSTEE
                                       W. Jeffrey Collier (MSB 10645)
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                                                 2
Case 19-12200-JDW        Doc 28     Filed 08/29/19 Entered 08/29/19 13:07:22             Desc Main
                                    Document     Page 3 of 3


                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: August 29, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




                                                 3
